    Case 2:15-cr-00154-JCZ-DEK             Document 572           Filed 08/29/16      Page 1 of 2




                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                                 CRIMINAL ACTION


VERSUS                                                                   NO. 15-154


PRICE, ET AL.                                                            SECTION A(3)



                                         ORDER AND REASONS

       Defendant Terrioues Owney moves to sever his trial from the trial of his co-defendants

(Rec. Doc. 503). Owney moves to sever his trial based on Rule 14 of the Federal Rules of

Criminal Procedure, which permits severance of a defendant’s trial if joinder of the defendant

“for trial appears to prejudice” him. Fed.R. Crim. Pro. 14(a). Owney argues that severance is

necessary because certain rap lyrics and videos that are inadmissible against him are being

admitted against his co-defendants, and the jury may “erroneously impute the evidence against”

Owney. (Rec. Doc. 503-1, Pg.3).

       The Government opposes Owney’s motion to sever, asserting that Owney has failed to

meet his burden of demonstrating the need for a severance. Given that other less drastic measures

are available to the Court and that Owney’s basis for a severance is possible prejudice caused

merely by “three short rap videos and their lyrics,” the Government contends that a severance is

not appropriate. (Rec. Doc. 546, Pg.1)

       Whether to sever a defendant’s trial from the trial of his co-defendants is within the

district court’s discretion. United States. v. Grapp, 653 F.2d 189, 192 (5th Cir. 1981). When

multiple defendants are indicted, the general rule is that “persons indicted together should be

tried together,” particularly in conspiracy cases. United States v. Neal, 27 F.3d 1035, 1045 (5th

                               15-CR-154 United States of America v. Price, et al.
                                       Motion to Sever (Rec. Doc. 503)
                                                 Page 1 of 2
    Case 2:15-cr-00154-JCZ-DEK              Document 572           Filed 08/29/16     Page 2 of 2




Cir. 1994) (citing United States v. Pofahl, 990 F.2d 1456, 1483 (5th Cir. 1993)). Severance under

Rule 14 is appropriate “only if there is a serious risk that a joint trial would compromise a

specific trial right of one of the defendants, or prevent the jury from making a reliable

judgment.” Zafiro v. United States, 506 U.S. 534, 539 (1993). Even when there is a risk of

prejudice, “less drastic measures, such as limiting instructions,” often suffice to alleviate

prejudicial risk. Id.

        The motion is DENIED for the following reasons: Owney has failed to demonstrate a

serious risk that a joint trial would compromise a specific trial right or prevent the jury from

making a reliable judgment. The Court is persuaded that severance is not necessary to eliminate a

possible risk of prejudice against Owney. Although certain rap lyrics are inadmissible against

Owney but admissible against his co-defendants, the Court has other measures available to

eliminate possible prejudice by the jury, such as limiting instructions. Given the general rule that

defendants indicted together should be tried together and that other protective measures are

available, defendant Terrioues Owney’s motion to sever is denied.

        Accordingly;

        IT IS ORDERED that the Motion to Sever (Rec. Doc. 503) filed by defendant

Terrioues Owney is DENIED.

        August 29, 2016.




                                                            __________________________________
                                                                      JUDGE JAY C. ZAINEY
                                                              UNITED STATES DISTRICT JUDGE




                                15-CR-154 United States of America v. Price, et al.
                                        Motion to Sever (Rec. Doc. 503)
                                                  Page 2 of 2
